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                                STATEMENT OF FACTS



Factual Background

       Beginning in late February 2023, a Task Force Officer with the FBI’s Washington Field

Office was acting in an undercover (UC) capacity as part of the Metropolitan Police Department-

Federal Bureau of Investigation (MPD-FBI) Child Exploitation Task Force, operating out of a

satellite office in Washington, D.C. In that capacity, the UC entered a fetish website. Different

areas of this website are known to the UC as a place where people meet, discuss, and trade original

images depicting the sexual abuse of children and links containing child pornography, among other

things. A user with the screenname “titotori,” subsequently identified as ELEANOR HUNTER

HOPPE, initiated a private email chat with the UC via the fetish website.

       HOPPE informed the UC that she was a mother, and that she wanted to chat with the UC

about “taboo parenting.” The UC responded that he was the father of a young girl. HOPPE

informed the UC that she chats on a social media application that uses end-to-end encryption. The

UC began communicating with HOPPE via this social media application, on which HOPPE used

the screenname “tori4fun.” In a series of chat communications that began on February 23, 2023,

and which continued through March 16, 2023, HOPPE stated that she resides in Charlottesville,

Virginia. The UC asked HOPPE if she could verify that she was “safe” by sending an image of

herself holding up her thumb near her breast. HOPPE sent the UC an image of herself with her

shirt pulled up, exposing her bare breast and holding her thumb up. Her face is partially visible in

this image.

       On or about February 27, 2023, HOPPE initiated contact with the UC through this

encrypted application. HOPPE asked the UC about the abuse he was perpetrating against his



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daughter, inquiring “What about you? What do you think the next step for you and your daughter

will be?” Throughout these messages, HOPPE expressed an interest in traveling to Washington

D.C. in order to sexually abuse the UC’s purported 8-year-old daughter with the UC. During the

course of the messages, HOPPE repeatedly stated that she wanted to assist the UC in introducing

his 8-year-old daughter to sexual activity. On or about March 12, 2023, after HOPPE and the UC

agreed that she would travel to the District of Columbia from Charlottesville in order to participate

in the sexual abuse of the UC’s daughter, the following exchange occurred:

       UC:             I can’t wait, I’m so excited to have you help out, can’t wait to see you with

                       her, I am going to be so fucking hard watching u play with her and you

                       watching me play with her

       HOPPE:          I can’t wait and then of course, putting her to bed and waking her up to do

                       a few extra things will be so fun

                       Have you explored her ass at all?

                       Also, has she seen videos of little girls with her dad yet?

       UC:             Yes, I had a really good link, it had dads and a folder with moms with their

                       kids too. It was fucking hot. I should her a while back but the damn link is

                       broken now. Have u seen anything good

       HOPPE:          C a couple photos here and there, but nothing really great to be honest

       UC:             Yeah, before that link it was the same for me a few pics from time to time.

                       They make me so hard

       HOPPE then sent the UC a thirty (30) second video depicting a small-framed female who

appears to be on a bed. The small female, who appears to be a minor, can only be seen from

behind, and she is nude from the waist down. An adult male can be seen penetrating the female



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from behind with his penis. The female is shown lying face down on a bed with her legs bent and

her arms stretched over her head.

        On March 8, 2023, while discussing the sexual abuse that she intended to perpetrate against

the UC’s daughter, HOPPE wrote the following: “a great think to do is to wake her up by trying

new things…that hazy/ dreamlike state is perfect to introduce a variety of new things…especially

with someone to help with positioning Her body and then you let her fall right back to sleep.”

        A few days later, on March 12, 2023, while still discussing the plan to travel to D.C. to

sexually abuse the UC’s purported 8-year-old daughter, HOPPE told the UC, “if I were you, I’d

start building up Thursday telling her that you know it’s gonna be super fun we’re gonna hang out

with an old friend of yours. It’s going to be like the best night ever blah blah blah and then once I

get there, obviously, it will take a slight turn. I’ve loved anal for a long time don’t worry I can train

her well.”

        During the afternoon hours of March 16, 2023, using the encrypted application, HOPPE

sent the UC, who was receiving and sending communications to her while located in an office in

the District of Columbia, three images. These images show the following: (1) a prepubescent

minor female, fully nude with her legs spread. An adult man can be seen penetrating the child’s

vagina with his penis; (2) a prepubescent minor female, nude from the waist down. She is lying

on her back, with her legs up in the air, while an adult male penetrates the child’s vagina with his

penis; and (3) a prepubescent minor female, fully nude but for a pair of white, thigh-high socks.

The child is shown straddling an adult man, whose penis is inserted into the little girl’s vagina.

        During the afternoon hours of March 16, 2023, after some additional chat exchanges,

HOPPE and the UC agreed that she would travel from her home in Charlottesville, VA to a hotel

located in Warrenton, VA. At the time, HOPPE believed that the UC would bring his purported



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8-year-old daughter from Washington, D.C. to the hotel so that HOPPE and the UC could sexually

abuse the little girl together. HOPPE sent the UC a photograph of a pink silk robe she would bring,

with the message, “Her big girl robe for tonight.”

       While en route to the hotel in Warrenton, HOPPE and the UC exchanged the following

messages:

       HOPPE: Wake her up and let her take a bath…lots of bubbles and go ahead and make sure

       you’re helpknb soap both her asshole and pussy in the tub

       And then when she gets out of the tub, just let her wrap up in a big towel and try to keep

       her cozy on the couch or something like that but try not to get her back in clothes. I’ll be

       thee as soon as I can and I’ll get naked to.

       Remember this is a special daddy daughter night no clothes needed.

       UC: Yes, I like that plan !!!

       UC: : )

       HOPPE: I am so bitter that I’m an hour away. It’s unreal.

       UC: I’m sorry babe

       UC: Will be worth it

       HOPPE: Keep me posted and don’t forget to wash her pussy to asshole and back again

       And get out any toys leave stuff like that that you brought and put it right on the bedside

       table so she knows that that is what we are here to do

       Remember these nights in the hotel with dad or about nothing but having fun feeling good

       and fucking

       Upon arrival at the hotel, HOPPE was placed under arrest. HOPPE waived her Miranda

rights and agreed to an interview with law enforcement. HOPPE stated that she traveled to the



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hotel in order to help the UC’s child. HOPPE admitted that she had not alerted the police nor any

law enforcement authorities regarding her communications with the UC, his location, or the fact

that he was sexually abusing his daughter. HOPPE admitted to distributing the images of child

sexual abuse material to the UC and stated that she did so to keep the UC talking.

       During an inventory search of HOPPE’s car, law enforcement found a pink children’s bag

that contained lubricant, silk undergarments, and a pink silk robe.

Identification of HOPPE

       On February 27, 2023, an administrative subpoena was served on the fetish website

requesting subscriber information associated with the username “titotori.”. On the same day, the

fetish website responded to the subpoena providing, in part, a Google email address, user date of

birth (DOB), and verified telephone number. The phone number provided was the same as the

number she provided to the UC. Additionally, the website provided IP logs spanning from

February 14, 2020, through February 26, 2023.

       On February 28, 2023, an administrative subpoena was served on Google requesting

subscriber information associated with the email address provided by the fetish website. On the

same day, Google responded to the subpoena providing, in part, that the following user information

was associated with this account: Name Eleanor Hoppe, with a recovery email address and the

same phone number provided by the fetish website.

       Upon receipt of this information, FBI Washington personnel used available open source,

commercial, and law enforcement sensitive databases to fully identify the suspected user of fetish

website account “titotori” as Eleanor Hunton Hoppe, with other identifiers, such as her DOB,

Virginia driver’s license number, and address in Charlottesville, VA. A social networking profile

was identified as belonging to HOPPE. Available publicly on this Facebook profile were



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photographs of HOPPE that appear to visually match images sent to the UC from the fetish website

user “titotori.”

       On March 15, 2023, HOPPE provided her cell phone number to UC, and the conversation

continued via text message. The cell phone number provided by HOPPE and used to communicate

with the UC is the same cell phone number provided in the subscriber information from the

subpoena returns from the fetish website and Google referenced in previous paragraphs.

       Furthermore, during the communications on the encrypted application between HOPPE and

the UC, HOPPE sent the UC a photograph of her face, while seated in the driver’s seat of a small

SUV with a light-colored interior. The Virginia Department of Motor Vehicles (DMV) driver’s

license photo for Eleanor Hunton Hoppe appears to depict the same person as the one depicted in

the image sent to the UC.

                                    CONCLUSION

        Based on the above information, there is probable cause to believe that Eleanor Hunton

Hoppe committed the following offenses: Distribution of Child Pornography, in violation of 18

U.S.C. § 2252(a)(2), on or about March 16, 2023; Attempted Transportation of a Minor With

Intent to Engage in Criminal Sexual Activity, in violation of 18 U.S.C. §§ 2423(a) and (e); and

Coercion and Enticement of a Minor, in violation of 18 U.S.C. § 2422(b).



                                                    Respectfully submitted,




                                                    Emily Eckert
                                                    Special Agent
                                                    Federal Bureau of Investigation




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Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on March 17, 2023.
                               Zia M.   Digitally signed by
                                        Zia M. Faruqui

                               Faruqui Date:  2023.03.17
                            _________________________________________
                                        12:56:08 -04'00'


                            HONORABLE ZIA M. FARUQUI

                            UNITED STATES MAGISTRATE JUDGE




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